                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

In re:                                                       Case No. 10-74187

THOMAS F. MURPHY,                                            Chapter 7

            Debtor.                                          Judge Thomas J. Tucker
______________________________________/

                  MEMORANDUM SUPPLEMENTING BENCH OPINION

        This case came before the Court for hearing on January 19, 2011 on two motions, one of
which was a motion filed by Debtor entitled “Motion for Order for Contempt, Damages and
Attorney Fees for Willful Violation of the Automatic Stay and Creditor Misconduct” (Docket
# 18, the “Motion”). At the conclusion of the hearing, the Court delivered a bench opinion on
the Motion.

        This Memorandum supplements the Court’s bench opinion, and the Order filed on
January 19, 2011 (Docket # 29) in order to cite, for the parties’ information, the following
authorities concerning the question of whether the provision in the Consent Judgment of Divorce
entered on April 9, 2009, requiring Debtor Thomas F. Murphy to pay $2,500.00 in attorney fees
to Dayna Milbrand, is “in the nature of alimony, maintenance, or support” within the meaning of
11 U.S.C. § 101(14A)(B):

1. Long v. Calhoun (In re Calhoun), 715 F.2d 1103 (6th Cir. 1983)

2. Goans v. Goans (In re Goans), 271 B.R. 528 (Bankr. E.D. Mich. 2001)

3. Smith v. Smith (In re Smith), 131 B.R. 959 (Bankr. E.D. Mich. 1991)

4. See also this Court's discussion of the foregoing cases in the transcript of the bench opinion
filed in the case of LeFleur v. Parish, Case No. 09-5436, at Docket # 99, beginning at pages
10-11.

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Signed on January 21, 2011




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